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             KT6 Algorithmics, LLC


INVOICE
Date: February 27, 2014
Attention: Tim Helm

Law Office of Pam Rea
7026 Old Katy Road, Suite 259
Houston, Texas 77024

Project title: Elite Litigation
Project description:
P.O. Number:
Invoice Number: 81206
Terms: 30 Days




 DESCRIPTION                                               QUANTITY                  UNIT PRICE                COST


 Acquire 2 laptops from client, secure, mirror the 6.5 hours                         $          300.00         $       1,940.00
 hard disk media in a manner to preserve integrity
 of data. Analyze hard disk media from two laptops




                                                                                     Subtotal                  $       1,940.00

                                                                              Tax 0.00%                        $       0.00


                                                                                     Total                     $       1,940.00



This includes storage until August 2014.




                                                           Exhibit "D"
                11767 Katy Freeway Suite 812 Houston, Texas 77079   T 281.940.0123   F 281.940.0126   EIN XX-XXXXXXX
